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                                                u.s. Depa. .l\:h Ì Justice
                                                Tax Division


                                                 Western Criminal Enforcement Section
                                                 P.O. Box 972, Ben Franklin Station (202) 514-5762
                                                 Washington, D.C. 20044 Telefax: (202) 514-9623

       EJO' C : RACimino: j hm
       DJ# 5-59N-7848
       CMN# 2000201076

                                                June 10, 2005

       CERTIFIED MAIL - RETURN RECEIPT REQUESTED

       David E. 0' Meila, Esquire
       United States Attorney
       Northern District of Oklahoma
       3600 United States Courthouse
       110 West 7th Street
       Tulsa, OK 74119


       Attn: AUSA Melody Noble Nelson


                                 Re: Grand Jurv Investiqation
                                     Pat terson Investigation
                                     Northern District of Oklahoma
                                     DJ# 5-59N-7848
                                     Concerning: Lindsey K. Springer

       Dear Mr. O'Meila:
            Reference is made to a letter dated June 3, 2005, the Special
       Agent-in-Charge, Internal Revenue Service, Dallas, Texas, approving
       your request to expand an existing non-tax grand jury investigation to
       include an investigation of potential criminal tax violations in the
       above-entitled matter. In accordance with Tax Division Directive 86-


;t     59, the Tax Division has no obj ection to this expansion.

            Pursuant to established procedures, no tax or tax-related
       charges, including charges to which a target has agreed to enter into
       a plea agreement, may be filed without prior approval of the Tax
\~     Division. You are reminded that any expansion of this grand jury
       investigation, to include additional targets, requires Tax Division
       approval as well. If you determine that use of the statutory
\~     compulsion process pursuant to 1S U. S. C. § 6003 (b) or a non-
       prosecution agreement with a witness (" letter immunity") is warranted,
C'     refer to the procedures set forth in U.S.A.M. § 9-23.000, et ~., and
       U.S.A.M. § 9-27.600, et ~., respectively.
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       Upon conclusion of the investigation, please provide the
  testimony, documents, and other materials accumulated by the grand
  jury to the assisting Internal Revenue Service agent for the sole
  purpose of analyzing the potential criminal tax aspects of the case
  and preparing a report setting forth his or her recommendation
  regarding prosecution. This report will be reviewed by an Internal
  Revenue Service Counsel, who will make a written evaluation and
  recommendation to the Special Agent-in-Charge. The Special Agent-in-
  Charge will forward the reports and exhibits, along with his or her
  recommendation regarding prosecution to the Tax Division.

       You must provide the Tax Division with a written report of your
  views regarding the prosecution potential of this case, the non-tax
  charges, if any, that you intend to bring, and the anticipated date of
  indictment. In addition, the case should be submitted to the Tax
  Division for review at least 60 days prior to the date on which you
  need a decision.
       You have the authority to terminate this investigation, provided
  that prior written notification is given to both the Tax Division and
  the Internal Revenue Service. This notification should indicate that
  the matter is terminated pursuant to 26 U. S. C. § 7602 (d). Please be
  reminded that your use of all tax returns and return information is
  governed by 26 U. S. C. § 6103 (h). In the event that the tax aspects of
  the investigation are terminated, you must obtain a court order
  pursuant to Section 6103 (I) in order to retain and use such returns
  and return information previously obtained under Section 6103 (h) .
        In all future correspondence, please use the following caption:

                          Re: Grand Jurv Investiqation
                                Patterson Investigation
                                Northern District Oklahoma
                                DJ# 5-59N-7848
                                Concerning:

  Please I ist each target ( individuals and entities) who is the subj ect
  of the correspondence.

       A copy of the Special Agent-in-Charge's letter and its
  attachments is enclosed. You are reminded that Fed. R. Crim. P.
  6 (e) (3) (B) requires that you furnish the court with the names of all
  persons with access to grand jury material. Enclosed with the Special
  Agent's letter are the IRS Counsel i s memorandum and IRS Form 9131
   (Request for Grand Jury Investigation) which lists all Internal
  Revenue Service personnel to whom such material has been disclosed.
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       Please advise all Internal Revenue Service personnel who assist
  you in this investigation, and who will have access to grand jury
  material, that such material is supplied to them on the following
  conditions:

        1. All grand jury material will remain under the custody of the
             grand jury, the United States Attorney, and the Tax
              Divisionj
        2. Disclosure of grand jury material may be made only to
             Internal Revenue Service personnel who are assisting in the
             investigation and formulating a recommendation by the
             Service regarding prosecution, and such Internal Revenue
             Service personnel may only use the grand jury material for
              thi s purpose j .
        3. The Internal Revenue Service will furnish the Tax Division
             with advice and a recommendation, whether favorable or
             unfavorable, regarding the prosecution potential of this
             case j

        4. The Internal Revenue Service will return all grand jury
             material to you when it is no longer needed for use in
             advising and assisting the Department of Justice in the
               investigation of this matter.

       If you have any questions about this case or your authority under
  Directive 86-59, you may contact Tax Division, Western Criminal Chief
  Ronald A. Cimino at (202) 514-5762.  Please acknowledge receipt of
  this letter and its enclosures.

                                       Sincerely yours,

                                      EILEEN J. 0' CONNOR
                                Assistant Attorney General
                                       Tax Division



                                By:
                                     RONALD A. CIMINO
                                  Chief, Western Criminal
                                      Enforcement Section

  Enclosures
         (1 Volume)
  cc: Special Agent in Charge
       Dallas, Texas
